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                 In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                         (Filed: February 10, 2016)
                                                No. 14-241V

* * * * * * * * * * * * * *                             *
 FELITA JUSTINA PATTERSON,                              *
                                                        *
                    Petitioner,                         *        Attorney Fees and Costs; Stipulation
                                                        *
v.                                                      *
                                                        *
SECRETARY OF HEALTH                                     *
AND HUMAN SERVICES,                                     *
                                                        *
                    Respondent.                         *
                                                        *
* * * * * * * * * * * * * *                             *

Lisa A. Roquemore, Esq., Rancho Santa Margarita, CA, for petitioner.
Julia W. McInerny, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                            DECISION ON ATTORNEY FEES AND COSTS1

Roth, Special Master:

        In this case under the National Vaccine Injury Compensation Program,2 I issued a
decision on December 4, 2015 that awarded compensation pursuant to the parties’ joint
stipulation. On February 9, 2016, the parties filed a stipulation for attorney fees and costs. The
stipulation indicates that respondent does not object to the amount petitioner is requesting.
Additionally, pursuant to General Order #9, the stipulation notes that petitioner incurred some
personal litigation costs.

           Respondent agrees to issue the following payments:

       (1) A lump sum of $54,893.11 in the form of a check payable jointly to petitioner, Felita
           Patterson, and the Law Office of Lisa A. Roquemore.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to delete medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree
that the identified material fits within this definition, I will delete such material from public access.
2
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2006).
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    (2) A lump sum of $1,219.87 in the form of a check payable to petitioner, Felita
        Patterson.

        I find that the amount of stipulated fees is reasonable and thus an award for fees and costs
is appropriate pursuant to § 300aa-15(e)(1). The clerk of the court shall enter judgment in
accordance herewith.3

IT IS SO ORDERED.

                                            s/Mindy Michaels Roth
                                            Mindy Michaels Roth
                                            Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. See
Vaccine Rule 11(a).


                                                         2
